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                                                                                   FILED
                                                                                       'JUL 11 2019
                           IN THE UNITED STATES DISTRICT COURT                    TIMOTHY M. 0 BR IEt~ CLERK
                                FOR THE DISTRICT OF KANSAS                        By     CA-          Deputy


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                                                )
                                                )
                                                )
(Enter above the full name of the Plaintiff(s)  )
                                                )
vs.                                             )       Case Number     /if - ;}3 7f- /){}e- J PO
                                                )
     facebro\<                                  )
Name                                            )
                                                )
Street and number                               )
                                                )
City                   State            ZipCode )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
                                      CIVIL COMPLAINT

I.      Parties to this civil action:

        (In item A below, place your name in the first blank and place your present address in the
        second blank. Do the same for additional plaintiffs, if any, on the back side ofthis sheet).

        A.      Name ofplaintiff        I( an danc-e.- WeJ Is
                Address     I oaD~ ,.,q§ 1.') Vwe..         °1)(\~ JI= ;J,&\
                             Muricul\\        Ks     (Ql.ci~0




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       (In item B below, write the full name of the defendant in the first blank. In the second
       blank, write the official position of the defendant. Use item C for the names and positions
       of any additional defendants).

       B.     Defendant            C:-a.ceboo~         ( bLcCf6r-ukJ                                   IS


              employed at          fa rdoeek \ /'\( ei ( f ~oJ-J


       C.     Additional   Defendants~ r'\I\ tU \'- ?ci4'Jb~
               ~ E D - fa.ce,bcok \hco rpora,kd


II.   Jurisdiction:

      (Complete one or more of the following subparagraphs, A., B.1, B.2., or B.3., whichever is
      applicable.)

      A. (If Applicable) Diversity of citizenship and amount:
              I.      Plaintiff is a citizen of the State of        Ka.ns lLS
              2.      The first-named defendant above is either
                              a. a citizen of the State of      Ca..\ l-9o rn Io-..          ; or
                              b. a corporation incorporated under the laws of the State of
                                     Ctt Ii -Pc1 n( ~       and having its principal place of business
                                    in a State other than the State of which plaintiff is a citizen.


              3. The second-named defendant above is eithet.
                              a.        a citizen of the State of     ~a.,\ 1-Cc<l\ ~ <>--    ; or
                              b.        a corporation incorporated under the laws of the State of
                              Ca\; ~1-n~ °'-       and having its principal place of business in a
                              State other than the State of which plaintiff is a citizen.


             (If there are more than two defendants, set forth the foregoing information for each
             additional defendant on a separate page and attach it to this complaint.)
             Plaintiff states that the matter in controversy exceeds, exclusive of interest and
             costs, the sum of seventy-five thousand dollars ($75,000.00).


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             B.     (If applicable) Jurisdiction founded on grounds other than diversity
             (Check any of the following which apply to this case).


          ili.                This case arises under the following section of the Constitution of
                              the United States or statute of the United States (28 U.S.C. §1331):
                              Constitution, Article       , Section_ _;
                              Statute, US Code, Title_ _, Section_ _.

                              This case arises because of violation of the civil or equal rights,
                              privileges, or immunities accorded to citizens of, or persons within
                              the jurisdiction of, the United States (28 U.S.C. §1343).

                              Other grounds (specify and state any statute which gives rise to such
                              grounds):




III.      Statement of Claim:

(State here a short and plain statement of the claim showing that plaintiff is entitled to
relief State what each defendant did that violated the right(s) of the plaintiff, including
dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
If you intend to allege more than one claim, number and set forth each claim in a separate
paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
of the claim[ s].)

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IV.       Relief:

(State briefly exactly what judgement or relief you want from the Court. Do not make
legal arguments.)


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 VI.                   im actual damages for the acts alleged in your complaint?
         Yes~'           Nol__J

 VII.   Do you claim punitive monetary damages?         Yes~ No I         !I


If you answered yes, state the amounts claimed and the reasons you claim you are entitled
to recover money damages.                                                      ·

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       VIII.   Administrative Procedures:

               A.     Have the cl · which you make in this civil action been presented through
               any type of Adm" strative Procedure within any government agency?
               YesD No

               B.     If you answered yes, give the date your claims were presented,
               how they were presented, and the result of that procedure:




               C.      If you answered no, give the reasons, if any, why the claims made in this
               action have not been presented through Administrative Procedures:




IX.   Related Litigation:

      Please mark the statement that pertains to this case:

        D             This cause, or a substantially equivalent complaint, was previously filed in
                      this court as case number                    and assigned to the Honorable
                      Judge~~~~~~~~~~~~-

                      Neither this cause, nor a substantially equivalent complaint, previously has
                      been filed in this court, and therefore this case may be opened as an original
                      proceeding.                       ~

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                                                     Name (Print or Type)




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                                             City      State   Zip Code


                                             Telephoneumber




location for the trial in this matter.




Dated: r1   /I (}I q
  (Rev.~




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